Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 1 of 6




                   EXHIBIT 4
Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 2 of 6
Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 3 of 6
Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 4 of 6
Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 5 of 6
Case 2:21-cr-00111-WBS Document 75-5 Filed 04/15/24 Page 6 of 6
